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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

ANHEUSER-BUSCH, INC.,                        )
                                             )
        Plaintiff,                           )
                                             )
                   vs.                       )       Case No. 4:08-CV-00358-TCM
                                             )
VIP PRODUCTS, LLC,                           )
                                             )
        Defendant.                           )


                          MEMORANDUM TO THE CLERK OF COURT

        Pursuant to the Court’s instructions during the Preliminary Injunction hearing held on

August 27, 2008, Plaintiff Anheuser-Busch, Inc., submits for electronic filing the following

Stipulated and Admitted Exhibits:

        •    Exhibits 1-21

        •    Exhibits 23-31

        •    Exhibit 34

        •    Exhibit 36

        •    Exhibits 40-48

        •    Exhibit 51

        •    Exhibit 58

        •    Exhibit 62



DATED: August 28, 2008




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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing was served
this 28th day of August, 2008, via the court’s electronic filing system via electronic mail and/or
first-class mail, postage prepaid, on the following:


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